Case 3:22-cv-07222-JD Document 37-1 Filed 02/08/23 Page 1 of 11




  EXHIBIT A
              Case 3:22-cv-07222-JD Document 37-1 Filed 02/08/23 Page 2 of 11



 1   SHANNON LISS-RIORDAN (SBN 310719)
     (sliss@llrlaw.com)
 2
     THOMAS FOWLER (pro hac vice forthcoming)
 3   (tfowler@llrlaw.com)
     LICHTEN & LISS-RIORDAN, P.C.
 4   729 Boylston Street, Suite 2000
     Boston, MA 02116
 5
     Telephone: (617) 994-5800
 6   Facsimile:     (617) 994-5801

 7   Attorneys for Plaintiff Francisco Rodriguez,
     on behalf of himself and all others similarly situated
 8

 9
                                UNITED STATES DISTRICT COURT
10                            NORTHERN DISTRICT OF CALIFORNIA
                                   SAN FRANCISCO DIVISION
11

12
                                                          Case No. 3:22-cv-7222
13   FRANCISCO RODRIGUEZ, on behalf of
     himself and all others similarly situated,
14
                                                          FIRST AMENDED CLASS ACTION
15                            Plaintiff,                  COMPLAINT AND JURY DEMAND
16                 v.                                         1. VIOLATION OF WARN ACT
17                                                               (29 U.S.C. §§ 2101 ET SEQ.)
     TWITTER, INC. and PRO UNLIMITED, INC.                    2. VIOLATION OF CALIFORNIA
18                                                               WARN ACT (CAL. LAB. CODE §§
                               Defendants                        1400 ET SEQ.)
19
                                                              3. FAILURE TO PAY ALL WAGES
20                                                               AND BENEFITS IMMEDIATELY
                                                                 UPON TERMINATION (CAL. LAB.
21                                                               CODE §§ 201, 203 AND 227.3)
                                                              4. PRIVATE ATTORNEYS GENERAL
22
                                                                 ACT (PAGA) CLAIM FOR CIVIL
23                                                               PENALTIES (CAL. LAB. CODE §§
                                                                 2698 ET SEQ.)
24

25

26

27

28



                                                      1
                                FIRST AMENDED CLASS ACTION COMPLAINT
              Case 3:22-cv-07222-JD Document 37-1 Filed 02/08/23 Page 3 of 11



 1
     I.     INTRODUCTION
 2
            1.      Plaintiff Francisco Rodriguez files this Class Action Complaint against
 3
     Defendants Twitter, Inc. (“Twitter”) and PRO Unlimited, Inc. d/b/a Magnit (“PRO” or “Magnit”),
 4
     on his own behalf and on behalf of potentially thousands of other employees, challenging
 5
     Defendants’ violation of the federal Worker Adjustment and Retraining Notification Act, 29
 6
     U.S.C. § 2101 et seq. (the “WARN Act”), and, for those employees who worked in California,
 7
     the California WARN Act, Cal. Lab. Code § 1400 et seq. (the “California WARN Act”), as well
 8
     as failure to provide the employees’ final pay and benefits on the same day that they were
 9

10
     terminated, in violation of the California Labor Code §§ 201, 203, and 227.3. Additionally,

11   Plaintiff brings a claim pursuant to the Private Attorneys General Act (“PAGA”), Cal. Lab. Code

12   §§ 2698 et seq., on behalf of the state of California and all other similarly situated aggrieved

13   employees.

14          2.      As described further below, Plaintiff, along with thousands of other similarly

15   situated employees, were employed by Twitter through Magnit, a payroll administration
16   company. While these employees were classified as employees of Magnit, the duties that they
17   performed for Twitter were indistinguishable from the employees who were employed directly
18   by Twitter. Twitter referred to these employees as its “contingent workforce.”
19          3.      Multi-billionaire Elon Musk recently purchased Twitter and immediately began
20   laying off half its workforce in the first week of November 2022. On November 12, 2022,
21
     Twitter laid off potentially thousands of employees (reportedly between 4,400 and 5,500) who
22
     worked for Twitter through Magnit, including Plaintiff, without providing them with the required
23
     notice under the federal and California WARN Acts or any payment in lieu of notice. The
24
     employees also did not receive their full final pay, benefits, and expense reimbursement the same
25
     day that they were terminated, as required by California law.
26
     II.    PARTIES
27
            4.      Plaintiff Francisco Rodriguez is an adult resident of Culver City, California.
28
     Plaintiff Rodriguez worked for Twitter through Magnit as a Gaming Partnership Coordinator,


                                                       2
                                FIRST AMENDED CLASS ACTION COMPLAINT
              Case 3:22-cv-07222-JD Document 37-1 Filed 02/08/23 Page 4 of 11



 1
     assigned to Twitter’s office in Santa Monica, California, from approximately November 17,
 2
     2021, until he was laid off on November 12, 2022.
 3
             5.       Plaintiff brings this lawsuit as a Rule 23 class action on behalf of all affected
 4
     employees who were employed by Twitter through Magnit and were terminated in connection
 5
     with Elon Musk’s slashing of Twitter’s workforce, across the United States (with respect to the
 6
     federal WARN Act claim) and in California (with respect to the California claims).
 7
             6.       Defendant Twitter, Inc. (“Twitter”) is a Delaware corporation, headquartered in
 8
     San Francisco, California.
 9

10
             7.       Defendant PRO Unlimited, Inc. d/b/a Magnit (“Magnit”), is a New York

11   corporation, headquartered in Bethpage, New York.

12   III.    JURISDICTION

13           8.       This Court has jurisdiction over this proceeding pursuant to 28 U.S.C. § 1331 and

14   29 U.S.C. § 2104(a)(5).

15           9.       This Court has supplemental jurisdiction under 28 U.S.C. § 1367 over Plaintiff’s
16   state law claims, because those claims derive from a common nucleus of operative facts with
17   Plaintiff’s federal claim.
18          10.       This Court has personal jurisdiction over Twitter, as it is headquartered in this
19   District and conducts substantial business operations in this District.
20           11.      This Court has personal jurisdiction over Magnit, as it conducts substantial
21
     business operations in this District.
22
     IV.    STATEMENT OF FACTS
23
            12.       Twitter is a social media company that employs thousands of people across the
24
     United States.
25
            13.       In addition to individuals employed directly by Twitter, Twitter has employed
26
     thousands of employees through a payroll administration company, Magnit. There is no
27
     distinction between the work performed by Twitter’s direct employees and the work performed
28
     by the individuals whom Twitter paid through Magnit. Twitter dealt directly with these


                                                        3
                                  FIRST AMENDED CLASS ACTION COMPLAINT
             Case 3:22-cv-07222-JD Document 37-1 Filed 02/08/23 Page 5 of 11



 1
     employees throughout the hiring process, including recruiting them and negotiating their
 2
     compensation. These employees were directly supervised by Twitter managers, were assigned to
 3
     Twitter offices, and Twitter provided all equipment used for work.
 4
            14.    In April 2022, it was announced that multi-billionaire Elon Musk would be
 5
     purchasing the company.
 6
            15.    Following the purchase of the company by Elon Musk in late October 2022, Musk
 7
     immediately began a mass layoff that has been reported to have affected half of Twitter’s
 8
     workforce. See Kate Conger, Ryan Mac, and Mike Isaac, Confusion and Frustration Reign as
 9

10
     Elon Musk Cuts Half of Twitter’s Staff, NEW YORK TIMES (November 4, 2022),

11   https://www.nytimes.com/2022/11/04/technology/elon-musk-twitter-layoffs.html.

12          16.    Twitter began its mass layoff by terminating thousands of employees who Twitter

13   employed directly during late October and early November 2022.

14          17.    Then, beginning on November 12, 2022, Twitter began laying off its employees

15   who were paid through Magnit.
16          18.    Plaintiff, like potentially thousands of other Twitter employees who were paid
17   through Magnit, received an email on November 12, 2022, stating that he was being laid off,
18   effective November 14, 2022.
19          19.    Twitter did not give 60 days advance written notice to the employees paid through
20   Magnit who Twitter laid off, as required by the federal WARN Act, and for employees in
21
     California, the California WARN Act. Nor were the affected employees given pay in
22
     substitution for federal or California WARN Act notice.
23
            20.    These layoffs of employees who were paid through Magnit are part of the same
24
     mass layoffs affecting employees directly employed by Twitter. Twitter is a joint employer of
25
     the employees who were paid through Magnit, and thus Twitter is likewise responsible for
26
     complying for federal and state labor laws protecting these employees, including the federal and
27
     California WARN Acts and the California Labor Code.
28



                                                     4
                               FIRST AMENDED CLASS ACTION COMPLAINT
              Case 3:22-cv-07222-JD Document 37-1 Filed 02/08/23 Page 6 of 11



 1
            21.     In addition, neither Twitter nor Magnit provided full final pay, benefits, and
 2
     expense reimbursement to these employees on their last day of employment, as required by the
 3
     California Labor Code. To date, these employees have still not received these full payments.
 4
            22.     Plaintiff is concerned that, absent court intervention, Defendants will seek
 5
     releases from laid off employees without informing them of their rights, statutory obligations, or
 6
     the pendency of this case. Plaintiff therefore seeks immediate relief to ensure that Defendants do
 7
     not violate the law and then seek to obtain releases from potentially thousands of employees who
 8
     do not have notice of their rights or the pendency of the claims brought here on their behalf.
 9

10
            23.     Indeed, Elon Musk engaged in similar behavior with respect to mass layoffs

11   conducted earlier this year at another company he owns, Tesla. In the summer of 2022, Tesla

12   engaged in mass layoffs without providing advanced written notice as required by the federal and

13   California WARN Acts. Former Tesla employees brought a suit against Tesla for these

14   violations. See Lynch et al. v. Tesla, Inc., Civ. Act. No., 1:22-cv-00597-RP (W.D. Tex.). Tesla

15   sought to obtain full releases of all federal and California WARN Act claims in exchange for
16   small severance payments for less than the employees were legally entitled to, as alleged in the
17   federal lawsuit. (Tesla offered one or two weeks’ severance pay, rather than the 60 days’ pay
18   required to satisfy the federal and California WARN Acts). See Lynch, 2022 WL 4295295, at
19   *1-4.) A federal court ruled that Tesla’s conduct was “misleading because [the separation
20   agreements] fail to inform potential class members of this lawsuit and the rights that they are
21
     potentially giving up under the WARN Act.” Id. at *4.
22
            24.     With respect to laid off employees who were paid directly by Twitter, Twitter
23
     stated that it would begin distributing severance agreements, including releases of claims,
24
     beginning last week. However, after employees filed a class action lawsuit and emergency
25
     motion seeking to block the distribution of releases without employees being informed of their
26
     claims and the pendency of the case, see Cornet et al v. Twitter, Inc., C.A. No. 3:22-cv-06857-JD
27
     (N.D. Cal.) (Dkts. 6 and 7), Twitter agreed not to distribute releases until after the plaintiffs’
28
     motion could be heard (assuming it could be heard promptly).


                                                        5
                                 FIRST AMENDED CLASS ACTION COMPLAINT
              Case 3:22-cv-07222-JD Document 37-1 Filed 02/08/23 Page 7 of 11



 1
            25.     In this case as well, Plaintiff seeks immediate relief to ensure that Defendants do
 2
     not violate the law and then seek to obtain releases from the potentially thousands of employees
 3
     who do not have notice of their rights or the pendency of the claims brought here on their behalf.
 4
            26.     Plaintiff also alleges that Defendants violated PAGA in the following ways: (1)
 5
     failing to provide sixty (60) days’ notice of the layoff to affected employees, or, in the absence of
 6
     such notice, providing sixty (60) days’ pay and benefits to affected employees in violation of Cal.
 7
     Lab. Code § 1400; and (2) failing to provide Plaintiff and other employees who were laid off
 8
     with their final pay, accrued benefits, and expense reimbursement, immediately upon termination,
 9

10
     in violation of Cal. Lab. Code §§ 201, 203, and 227.3. On November 16, 2022, Plaintiff gave

11   written notice of Defendants’ violations of the California Labor Code as alleged in this complaint

12   to the Labor and Workforce Development Agency (“LWDA”) via online filing and to

13   Defendants’ general counsel via certified mail.

14
                                                COUNT I
15                                          Federal WARN Act
16          Plaintiff and other affected employees who have worked for Twitter and been paid
17   through Magnit have been entitled to the rights, protections, and benefits provided under the
18   federal WARN Act, 29 U.S.C. § 2101 et. seq. 24. Defendants are subject to the notice and back
19   pay requirements of the federal WARN Act because Twitter and Magnit are business enterprises
20   that employed 100 or more employees, excluding part-time employees, and/or, employed 100 or
21
     more employees who in the aggregate work at least 4,000 hours per week (exclusive of
22
     overtime), as defined in the WARN Act. 29 U.S.C. §§ 2101(1)(A) and(B). Defendants are
23
     engaged in conducting mass layoffs but have not provided affected employees with the required
24
     notice under the federal WARN Act.
25                                               COUNT II
                                           California WARN Act
26
            Plaintiff and other employees who have worked for Twitter out of California and paid
27
     through Magnit have been entitled to the rights, protections, and benefits provided under the
28
     California WARN Act, Cal. Lab. Code § 1400 et seq. Defendants are subject to the notice and


                                                       6
                                FIRST AMENDED CLASS ACTION COMPLAINT
              Case 3:22-cv-07222-JD Document 37-1 Filed 02/08/23 Page 8 of 11



 1
     back pay requirements of the California WARN Act because Twitter and Magnit are business
 2
     enterprises that employed 75 or more employees, as defined in the California WARN Act, Cal.
 3
     Lab. Code § 1400(a). Defendants are engaged in conducting mass layoffs but have not provided
 4
     all affected employees with the required notice under the California WARN Act.
 5

 6
                                            COUNT III
 7
       Failure to Provide All Final Pay and Accrued Benefits Immediately Upon Termination
                              California Labor Code §§ 201, 203, 227.3
 8          Plaintiff and other employees who have worked for Twitter out of California and paid
 9
     through Magnit and who were laid off have been entitled to immediate receipt of their full final
10
     pay, accrued benefits, and expense reimbursement, pursuant to Cal. Lab. Code §§ 201, 203, and
11
     227.3. Defendants have terminated these employees but failed to provide to them their full final
12
     pay, accrued benefits, and expense reimbursement immediately upon termination.
13

14                                            COUNT IV
                      Penalties Pursuant to Private Attorneys General Act of 2004
15                                   Cal. Lab. Code §§ 2698 et seq.
16          Plaintiff is an aggrieved employee as defined by Cal. Lab. Code § 2699(c) as he was
17   employed by Defendants during the applicable statutory period and suffered injury as a result of
18   Defendants’ Labor Code violations. Accordingly, Plaintiff seeks to recover on behalf of the State
19   of California, as well as himself and other current and former aggrieved employees who have
20   worked for Twitter out of California and were paid through Magnit, the civil penalties provided
21
     by PAGA, plus reasonable attorneys’ fees and costs. Plaintiff complied with the notice
22
     requirement of Cal. Lab. Code § 2699.3 and served a written notice to the LWDA through its
23
     website’s online filing portal, and on Defendants via certified mail on November 16, 2022. It has
24
     been sixty-five (65) days or more since the LWDA was notified of the Labor Code violations
25
     asserted in this complaint, and the LWDA has not provided any notice that it will or will not
26
     investigate the alleged violations.
27

28



                                                     7
                                FIRST AMENDED CLASS ACTION COMPLAINT
             Case 3:22-cv-07222-JD Document 37-1 Filed 02/08/23 Page 9 of 11



 1
                                              JURY DEMAND
 2             Plaintiff requests a trial by jury on these claims.
 3

 4

 5

 6

 7

 8

 9

10

11   WHEREFORE, Plaintiff requests that this Court enter the following relief:
12          a. Declare and find that the Defendants have violated the federal WARN Act, 29 U.S.C.
13             § 2101 et seq., and the California WARN Act, Cal. Lab. Code §§ 1400 et seq.;
14          b. Declare and find that the Defendants have violated the California Labor code §§ 201,
15             203, and 227.3.
16          c. Enter Judgment in Plaintiff’s favor on his PAGA claim pursuant to Cal. Lab. Code §
17
               2699(c)
18
            d. Certify this case as a class action;
19
            e. Award compensatory damages and penalties, in an amount according to proof;
20
            f. Award pre- and post-judgment interest;
21
            g. Award reasonable attorneys’ fees, costs, and expenses; and
22
            h. Award any other relief to which the Plaintiff and other similarly situated employees
23
               may be entitled.
24

25

26

27

28



                                                      8
                               FIRST AMENDED CLASS ACTION COMPLAINT
              Case 3:22-cv-07222-JD Document 37-1 Filed 02/08/23 Page 10 of 11



 1
                                           Respectfully submitted,
 2

 3                                         FRANCISCO RODRIGUEZ, on behalf of himself
 4
                                           and all others similarly situated,

 5                                         By his attorneys,

 6                                         _/s/ Shannon Liss-Riordan____________
                                           Shannon Liss-Riordan, SBN 310719
 7
                                           Thomas Fowler (pro hac vice forthcoming)
 8                                         LICHTEN & LISS-RIORDAN, P.C.
                                           729 Boylston Street, Suite 2000
 9                                         Boston, MA 02116
                                           (617) 994-5800
10
                                           Email: sliss@llrlaw.com; tfowler@llrlaw.com
11

12   Dated:        February 7, 2023
13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28



                                              9
                             FIRST AMENDED CLASS ACTION COMPLAINT
            Case 3:22-cv-07222-JD Document 37-1 Filed 02/08/23 Page 11 of 11



 1                                  CERTIFICATE OF SERVICE
 2          I, Shannon Liss-Riordan, hereby certify that a true and accurate copy of this document

 3   was served on counsel for Defendants Pro Unlimited, Inc. and Twitter, Inc. via the CM/ECF
 4   system on February 7, 2023.
 5

 6   Dated: February 7, 2023
 7

 8                                       By:     /s/ Shannon Liss-Riordan
                                                 Shannon Liss-Riordan
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28



                                                   10
                               FIRST AMENDED CLASS ACTION COMPLAINT
